         Case
      Case    3:23-cv-00782-YY Document
           2:16-md-02740-KDE-MBN        6-3 131
                                  Document   FiledFiled
                                                   05/22/23    Page
                                                        12/13/16    1 of15of 5
                                                                  Page



                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                    MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION
                                                                               SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES


                                   PRETRIAL ORDER NO. 5
                                       (“Direct Filing”)

I.    SCOPE OF THE ORDER

      This Order amends and supersedes this Court’s previous “Pretrial Order No. 4” that was

issued on December 9, 2016. 1 This Order shall govern (1) cases transferred to this Court by the

Judicial Panel on Multidistrict Litigation, pursuant to its Order of October 4, 2016; (2) any tag-

along actions subsequently transferred to this Court by the Judicial Panel on Multidistrict

Litigation pursuant to Rule 7.1 of the Rules of Procedure of that Panel; and (3) all related cases

originally filed in this Court or transferred or removed to this Court. The Order only applies to

claims brought by a U.S. citizen or resident based on usage or purchase of Taxotere (Docetaxel)

in the United States.

II.   DIRECT FILING OF CASES INTO MDL NO. 2740

A.     The Court is well aware of the delay(s) associated with awaiting the Panel on Multidistrict

Litigation’s transfer of cases (originally filed in or removed to other federal district courts) to the

Eastern District of Louisiana for pre-trial consolidation in MDL No. 2740. Accordingly, to

promote judicial efficiency, and avoid the delays associated with awaiting transfer, IT IS



1
       For simplicity purposes, this Order completely supersedes “Pretrial Order No. 4” and
contains all information relevant to direct filing.
                                                    1
        Case
     Case    3:23-cv-00782-YY Document
          2:16-md-02740-KDE-MBN        6-3 131
                                 Document   FiledFiled
                                                  05/22/23    Page
                                                       12/13/16    2 of25of 5
                                                                 Page



ORDERED that any plaintiff whose case would be subject to transfer to MDL No. 2740, and that

could have been filed in any United States District Court, may instead directly file a complaint in

the Eastern District of Louisiana, thereby commencing a separate civil action for consolidation,

for pre-trial purposes, with MDL No. 2740. In doing so, plaintiff’s counsel shall, by signing and

filing pursuant to this Order, certify compliance with FRCP Rule 11, and be prepared to

demonstrate due specific factual inquiry sufficient to immediately participate in discovery and/or

substantive mediation, and demonstrate as much to this Court upon inquiry by the undersigned.

B.     As stated in Paragraph II. A, any complaint that is filed directly in the Eastern District of

Louisiana, pursuant to this Order, shall be filed as a new civil action through the Court’s electronic

filing system. At the time of filing, the complaint shall bear the caption set forth in Paragraph J of

this Order, and be accompanied by a civil cover sheet and summons. The civil cover sheet shall

specify under the “Related Case(s)” section that the case is related to MDL No. 2740. Once the

case is filed, it shall be assigned a civil case number. After review by the Clerk of Court’s office,

the case will be automatically consolidated in MDL No. 2740.

C.     Subject to the provisions of Paragraphs D and E, Defendants shall not at this time assert

any objection of improper venue pursuant to FRCP 12(b) as to any Taxotere-related cases that

emanate from districts outside the Eastern District of Louisiana, but are filed pursuant to this Order

for pretrial consolidation in this multidistrict litigation proceeding. Defendants’ right to do so shall

be reserved and may be urged after receiving leave of Court.

D.     Each case filed directly in the Eastern District of Louisiana, pursuant to this Order, that

emanates from a district court outside the Eastern District of Louisiana will be consolidated in

MDL No. 2740 for pretrial proceedings only, consistent with the Judicial Panel on Multidistrict

Litigation’s October 4, 2016 Transfer Order. (Rec. Doc. 1).



                                                   2
        Case
     Case    3:23-cv-00782-YY Document
          2:16-md-02740-KDE-MBN        6-3 131
                                 Document   FiledFiled
                                                  05/22/23    Page
                                                       12/13/16    3 of35of 5
                                                                 Page



E.      Upon completion of all pretrial proceedings in any case before this Court by virtue of this

“Direct Filing” Order, this Court, pursuant to 28 U.S.C. § 1404(a), will transfer each case to the

federal district court for the district where the plaintiff allegedly was injured or where plaintiff

resided at the time of his or her alleged injury, after the parties are given an opportunity to meet

and confer and be heard on the issue. Defendants will not assert any objection of improper venue

pursuant to FRCP 12(b), upon transfer consistent with the provisions in this paragraph and this

Order, unless otherwise permitted by the court to which such case is transferred under this

paragraph.

F.      Nothing contained in this Order shall preclude the parties from agreeing, at a future date,

to try cases filed pursuant to this Order in this District.

G.      The inclusion of any action in In re: Taxotere (Docetaxel) Products Liability Litigation,

MDL No. 2740, whether such action was or will be filed originally or directly in the Eastern

District of Louisiana, shall not constitute a determination by this Court that venue is proper in this

District or that this Court has personal jurisdiction over any named party. Likewise, nothing in

this Order shall be construed as a waiver of personal jurisdiction by any named Defendant, served

or unserved. The references to “Defendants” herein shall not constitute an appearance nor waiver

of service by or for any Defendant, not otherwise properly served.

H.      Any case filed directly in the Eastern District of Louisiana for pretrial consolidation in

MDL No. 2740, pursuant to this Order, shall have no impact on choice of law that otherwise would

apply to an individual case had it been originally filed in another district court and transferred to

this Court pursuant to 28 U.S.C. § 1407.

I.      When asserting a statute of limitations defense in response to any complaint filed directly

in the Eastern District of Louisiana for pretrial consolidation in MDL No. 2740, pursuant to this



                                                    3
         Case
      Case    3:23-cv-00782-YY Document
           2:16-md-02740-KDE-MBN        6-3 131
                                  Document   FiledFiled
                                                   05/22/23    Page
                                                        12/13/16    4 of45of 5
                                                                  Page



order, the filing date will be deemed to be the date that the case was filed in the Eastern District of

Louisiana.

J.      Any complaint that is directly filed in MDL No. 2740 before this Court shall bear the

following caption:



                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUIS IANA


IN RE: T AX OT ER E ( DOC ET A XE L)                           :   M D L N O . 2 74 0
PRODUCTS LIABILITY LITIGATION                                  :
                                                               :   SECTION “N” (5)
________________________________                               :   JUDGE ENGELHARDT
__________,                                                    :   MAG. JUDGE NORTH
                                                               :
         Plaintiff,                                            :   COMPLAINT & JURY DEMAND
                                                               :
vs.                                                            :   Civil Action No.:________________
                                                               :
_________________________________                              :
__________,                                                    :
                                                               :
         Defendant(s).                                         :
-------------------------------------------------------------- :




                                                         4
        Case
     Case    3:23-cv-00782-YY Document
          2:16-md-02740-KDE-MBN        6-3 131
                                 Document   FiledFiled
                                                  05/22/23    Page
                                                       12/13/16    5 of55of 5
                                                                 Page



K.     With regards to all other filings, as previously stated in Paragraph 7 of “Pretrial Order No.

1” (Rec. Doc. 4), the Clerk of Court shall maintain a master docket case file under the style “In

Re: Taxotere, Products Liability Litigation” and the identification “MDL No. 2740.” When a

pleading is intended to be applicable to all of the actions, this shall be indicated by the words:

“This Document Relates to All Cases.” When a pleading is intended to apply to fewer than all of

the cases, this Court’s docket number for each individual case to which the document number

relates shall appear immediately after the words “This Document Relates To.”

       New Orleans, Louisiana this 13th day of December 2016.


                                                     _________________________________
                                                     KURT D. ENGELHARDT
                                                     UNITED STATES DISTRICT JUDGE




                                                5
